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                EXHIBIT 27
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                                                                         - COVID Vaccine Risk Tracker - Page    2Now
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                                                                                 City, county, state, or zip




                             San Francisco County, CA                                          Share           Find a vaccine
                             Updated on June 24




                                     RISK LEVEL                                  VACCINATION PROGRESS

                                         MEDIUM

                                Daily new                Infection rate          Positive test             % Vaccinated
                                cases                                            rate
                                                             0.81                                          72.8%        1+ DOSE
                                   1.2      PER
                                            100K                                    0.5%



                                PAST 30 DAYS


                                Cases                  Hospitaliz…




                                Deaths




                                                                                               % Vaccinated    Risk levels


                                                                                       Pop. with
                                                                                       1+ dose




                                         Get the latest news and alerts about this location.



                                  Email address                                                                    Get alerts




                               Vaccine eligibility

                                   ✓ Individuals 12+



                               Find your vaccine and other information from these official sources:


                                                                      Find a vaccine


                                                             California Department of Health

                               Compare              Nearby    CA   USA




https://covidactnow.org/us/california-ca/county/san_francisco_county/?s=1971887                                                   1/5
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                                                             DAILY NEW
                                 COUNTY                      CASES PER            INFECTION       POSITIVE
                                 POPULATION                  100K                 RATE            TEST RATE      VACCINATED (1+ D




                                1     Los Angeles Co.
                                                                    1.9              1.01            0.7%        58%
                                      10,000,000


                                2     San Diego Co.
                                                                    2.1              0.95            0.9%        70%
                                      3,300,000


                                3     Orange Co.
                                                                    1.4              0.97            0.8%        59%
                                      3,200,000


                                4     Riverside Co.
                                                                    1.8              1.00            1.3%        45%
                                      2,500,000


                                5     San Bernardino
                                      Co.                           1.8              0.90            1.1%        42%
                                      2,200,000


                                12        San Francisco
                                          Co.                       1.2              0.81            0.5%        73%
                                          880,000



                                                                          See all (58)


                                                                                                                        Share

                               Recommendations

                                            Masks are not required in most                    Indoor gatherings should be
                                            indoor and outdoor settings for                   avoided with people outside the
                                            vaccinated people, except by                      immediate household, unless
                                            local regulation e.g., from                       you are fully vaccinated. See
                                            businesses, workplaces or local                   guidance for vaccinated
                                            government. Unvaccinated                          individuals. Outdoor gatherings
                                            people should continue to mask                    with masks and distancing are a
                                                                          More



                               Source: CDC                                                                              Share

                               % Vaccinated
                               1+ DOSE           FULLY VACCINATED

                                  72.8%             64.6%
                               80%
                                                                                                                                    72.8%
                                                                                                                                    64.6%
                               60%



                               40%



                               20%



                                0%
                                Jan '21                                     Mar                                        May            Jul


                               In San Francisco County, California, 642,005 people (72.8%) have received                Share
                               at least one dose and 569,397 (64.6%) are fully vaccinated. Fewer than


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                               0.001% of people who have received a dose experienced a severe adverse
                               reaction. See more vaccine resources and FAQs. About this data
                               Cases
                               DAILY NEW CASES                INFECTION RATE   POSITIVE TEST RATE

                                     1.2         PER 100K         0.81           0.5%

                                41


                                      Critical


                                25


                                      High

                                10
                                      Medium                                                                                          1.
                                 1
                                     Mar                May              Jul           Sep          Nov     Jan '21      Mar   May



                               Over the last week, San Francisco County, California has averaged 11 new          Share
                               confirmed cases per day (1.2 for every 100,000 residents). About this data

                               Note that our daily new cases per 100k metric is different than the
                               "adjusted case rate" metric used by California for determining reopening
                               tier assignments. Their adjusted case rate is adjusted to account for
                               testing levels.
                               Hospitalizations
                               ICU USED            ICU PATIENTS    HOSPITALIZED PATIENTS

                                     66%           3.0             17.0

                               100%
                                           Critical
                                85%        High
                                80%
                                           Medium                                                                                    66%
                                70%




                                           Low




                                      Mar                   May          Jul            Sep         Nov     Jan '21      Mar   May



                               San Francisco County, California has reported having 254 staffed adult ICU        Share
                               beds. 165 are filled by non-COVID patients and 3 are filled by COVID
                               patients. Overall, 168 out of 254 (66%) are filled. This suggests there is
                               likely enough capacity to absorb a wave of new COVID infections.
                               About this data
                               Deaths
                               DAILY DEATHS

                               0.1




https://covidactnow.org/us/california-ca/county/san_francisco_county/?s=1971887                                                      3/5
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                                    15.0




                                    10.0




                                     5.0




                                     0.0
                                           Mar          May            Jul              Sep           Nov        Jan '21       Mar     May



                                     Deaths       7 Day Average


                                Over the last week, San Francisco County, CA has averaged 0.1 daily                Share
                                deaths. About this data
                                Vulnerabilities

                                                                      VULNERABILITY LEVEL

                                                                             MEDIUM




                                             San Francisco County, CA has average vulnerability among U.S. counties.


                                    Communities with higher vulnerability have pre-existing economic, social, and physical

                                                                             More



                                About this data                                                                    Share

                                Trends

                                  METRIC                              PAST # OF DAYS          LOCATIONS
                                  Cases                               All time                San Francisco County, CA



                                     500


                                     400


                                     300


                                     200


                                     100


                                       0
                                           Mar          May           Jul              Sep          Nov         Jan '21      Mar     May




                                     Cases       7 Day Average                                                     Share




            Alerts
            Receive emails when your location changes risk level or vaccine eligibility


            Daily Download
            Receive daily emails with the latest data and scientific findings


            Data API
            Get realtime, local data including daily new cases, % vaccinated, and more.

https://covidactnow.org/us/california-ca/county/san_francisco_county/?s=1971887                                                              4/5
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   FAQ

   What can you do after you are fully vaccinated?
   Can you get COVID even after being vaccinated?
   Can you transmit COVID after vaccination?


     Vaccine FAQs




     The Act Now Coalition is an independent 501(c)(3) nonprofit founded by volunteers in March 2020. Covid Act Now is our COVID-focused initiative to
                            help people make informed decisions by providing timely and accurate data about COVID in the U.S.


                                                            Learn more about us     Contact us



                                                                                   Terms




https://covidactnow.org/us/california-ca/county/san_francisco_county/?s=1971887                                                                          5/5
